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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                      CASE NUMBER


                                                                              CV 16-8697 MWF (SSx)
                                  PLAINTIFF(S)/PETITIONER(S)
                             v.
UNITED HEALTH GROUP, INC., et al.,                                  ORDER TO REASSIGN CASE DUE TO
                                                                      SELF-RECUSAL PURSUANT TO
                             DEFENDANT(S)/RESPONDENTS(S)
                                                                         GENERAL ORDER 19-03


        The undersigned Judge, to whom the above-entitled case was assigned, is hereby of the opinion that he
or she should not preside over said case, by reason of (please use additional sheets if necessary) :
28 U.S.C. § 455(b)(4).




       IT IS HEREBY ORDERED that this case be reassigned by the Clerk in accordance with General
Order 19-03.
          This self-recusal has been Ordered:
                    within 120 days of the Court being assigned said case.
                ✔ after 120 days of the Court being assigned said case.



           May 3, 2019
          Date                                                   United States District Judge



                                        NOTICE TO COUNSEL FROM CLERK


        This case has been reassigned to Judge           Fernando M. Olguin                     . On all documents
subsequently filed in this case, please substitute the initials      FMO                after the case number in
place of the initials of the prior judge so that the case number will read:    2:16-cv-08697 FMO(SSx)                .

          This is very important because documents are routed to the assigned judge by means of the initials.




cc:       Previous Judge    Statistics Clerk


CV-52 (03/19)              ORDER TO REASSIGN CASE DUE TO SELF-RECUSAL PURSUANT TO GENERAL ORDER 19-03
